       Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 1 of 70



Andrea R. Woods*                         Toby J. Marshall*
American Civil Liberties Union           Beth E. Terrell*
Foundation, Criminal Law Reform          Blythe H. Chandler*
Project                                  Terrell Marshall Law Group, PLLC
125 Broad Street, 18th Fl.               936 N. 34th Street
New York, NY 10004                       Suite 300
(212) 549-2528
                                         Seattle, WA 98103
awoods@aclu.org
                                         (206) 816-6603
                                         tmarshall@terrellmarshall.com
Alex Rate
                                         bterrell@terrellmarshall.com
Elizabeth Ehret
                                         bchandler@terrellmarshall.com
American Civil Liberties Union of
Montana Foundation, Inc.
P.O. Box 9138
Missoula, MT 59807
Telephone: (406) 203-3375
                                         *Pro Hac Vice Forthcoming
ratea@aclumontana.org
ehrete@aclumontana.org

                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

Eugene Deshane Mitchell, Shayleen           Case No.
Meuchell, on their own behalf and as
next friend of B.M.,
                        Plaintiffs,
                                            COMPLAINT FOR
             v.                             DAMAGES, DECLARATORY
                                            RELIEF, AND REQUEST
First Call Bail and Surety, Inc.;           FOR JURY TRIAL
Allegheny Casualty Company;
International Fidelity Insurance            JURY DEMAND
Company; the Montana Civil
Assistance Group;
Michael Ratzburg; Van Ness Baker,
Jr.; and Jason Haack.
                           Defendants.
           Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 2 of 70



                       I.     PRELIMINARY STATEMENT
      1.       Late at night in spring 2017, a military-style assault team kicked in the

front door of the home of Eugene Mitchell and Shayleen Meuchell. With weapons

drawn, several people entered the couple’s bedroom to find Mr. Mitchell and Ms.

Meuchell in bed with their four-year-old daughter, B.M. The family was terrified to

find a group of strangers pointing guns at them. The intruders were not police

officers or soldiers; they were private-citizen bounty hunters who claimed authority

to arrest Mr. Mitchell due to a forfeited bail bond.

      2.       Three months earlier, Mr. Mitchell entered into a private bail bond

agreement as he faced two charges: driving with a suspended license and without

proof of insurance. Five of the six bounty hunters present for the break-in have since

been charged with assault with a weapon, aggravated burglary, unlawful restraint,

accountability for aggravated burglary, and criminal mischief related to this incident.

Four have pled guilty to counts of criminal endangerment, unlawful restraint, or

criminal trespass.

      3.       In Montana and throughout the country, private companies profit off of

presumptively innocent people who cannot afford to pay an upfront money bond

requirement to secure their freedom. These companies impose financial, physical,

and personal harms—including invasion of privacy, stigmatization, and burdens on

family members—on the persons with whom they contract, yet they generally evade
                                            2
              Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 3 of 70



accountability. Eugene Mitchell and his family, like countless others, were subjected

to such harms.

         4.       In January 2017, Mr. Mitchell faced an accusation of driving with a

suspended license and failure to carry proof of insurance. He could not pay a $1,670

bond required to bail out of jail, return to his family and work, and await his day in

court.

         5.       Faced with the choice between remaining incarcerated or entering a

lopsided agreement with a private, for-profit company, Mr. Mitchell and his family

paid a bond premium to Defendants First Call Bail and Surety, Inc., a local bonding

agency, and Michael Ratzburg, a bail bondsman and the owner of First Call, to

secure Mr. Mitchell’s release. Defendants Allegheny Casualty Company, an

insurance company that backs bail bonds, and International Fidelity Insurance

Company, another insurance company dealing in bail bonds, were sureties on the

bond.

         6.       On January 4, 2017, Mr. Mitchell and his wife, Shayleen Meuchell,

entered into an agreement with First Call, Ratzburg, Allegheny, and International

Fidelity (referred to here as the Bond Company Defendants). Mr. Mitchell and Ms.

Meuchell paid a non-refundable $228 premium in exchange for the Bond Company

Defendants posting Mr. Mitchell’s full $1,670 bond. See Mitchell Bail Bond

Agreement, Ex. A.
                                            3
           Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 4 of 70



      7.       The agreement reserved for the Bond Company Defendants

considerable power to, inter alia, unilaterally change the terms of the agreement or

use physical force to apprehend and arrest Mr. Mitchell as the companies saw fit.

Mr. Mitchell was incarcerated when Ratzburg discussed the agreement with Ms.

Meuchell. Ratzburg gave Ms. Meuchell only a few minutes to read the agreement,

and Mr. Mitchell had no opportunity to review its terms.

      8.       On April 19, 2017, Mr. Mitchell inadvertently failed to appear for a

court hearing, and the court forfeited his bond. On April 21, 2017, Ratzburg and

First Call hired Van Ness Baker, Jr., Vice President of an organization called the

Montana Civil Assistance Group (MCAG), to arrest Mr. Mitchell.

      9.       Defendant MCAG through its leadership, Defendants Jason Haack and

Van Ness Baker, deployed several of its members—Skylar Reese-Bamford, Keegan

Crick, Maria Miller, Larry Wallace, and Jessie White—to spend the following days

searching for Mr. Mitchell. MCAG members staked out the home of Mr. Mitchell

and Ms. Meuchell throughout the weekend, including by parking vehicles on or near

the premises and by driving loudly on streets adjacent to the house throughout the

night, such that Ms. Meuchell was aware she was being watched. When an

acquaintance came by the home to see Ms. Meuchell, MCAG members surrounded

the visitor’s car with guns drawn for approximately fifteen or twenty minutes, asking


                                          4
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 5 of 70



questions about Mr. Mitchell’s whereabouts and intimidated the driver and her

teenaged daughter.

      10.    On April 23, 2017, at least five MCAG members—Baker, Reese-

Bamford, Crick, Miller, and Wallace—kicked in Mr. Mitchell and Ms. Meuchell’s

front door and stormed into their home with weapons drawn. Mr. Mitchell, Ms.

Meuchell, and their four-year-old daughter B.M. were all asleep in bed. MCAG

members pointed guns at the family, told everyone not to move, took Mr. Mitchell

to another room, handcuffed and arrested him, and then drove him to the Ravalli

County jail approximately one hour away. Mr. Mitchell, Ms. Meuchell, and B.M.

were terrified by the experience.

      11.    As a result of the attack, all three Plaintiffs have suffered physical and

emotional injuries. They also suffered damage to their front door, which has

substantially increased the cost of their heat and electricity. The attack left Ms.

Meuchell traumatized and uncomfortable being at home without Mr. Mitchell.

Plaintiff B.M. is similarly traumatized and has difficulty sleeping. She also runs and

hides whenever someone comes to the family’s door.

      12.    Plaintiffs bring this action against Defendants to remedy violations of

the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962, and the

Montana Consumer Protection Act, Mont. Code Ann. § 30-14-103. Plaintiffs also

bring claims against Defendants for trespass, false imprisonment, assault, intentional
                                          5
          Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 6 of 70



infliction of emotional distress, and negligent infliction of emotional distress.

Plaintiffs seek monetary damages, punitive damages, declaratory relief, attorneys’

fees, and costs.

                       II.   JURISDICTION AND VENUE
      13.     The Court has jurisdiction over this action under the Racketeer

Influenced and Corrupt Organizations Act, 18 U.S.C. § 1964(c), and 28 U.S.C.

§ 1331.

      14.     The Court has supplemental jurisdiction over claims arising under state

law under 28 U.S.C. § 1367.

      15.     Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part

of the events and omissions giving rise to Plaintiffs’ claims occurred in this District.

                                  III.   PARTIES
      16.     Plaintiff Eugene Deshane Mitchell resides in Lolo, Montana. He is the

husband of Plaintiff Shayleen Meuchell and the father of Plaintiff B.M.

      17.     Plaintiff Shayleen Meuchell resides in Lolo, Montana. She is the wife

of Plaintiff Eugene Mitchell and the mother of Plaintiff B.M.

      18.     Plaintiff B.M. is a minor child whose parents are Plaintiffs Mitchell and

Meuchell. B.M. resides in Lolo, Montana.




                                           6
         Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 7 of 70



       19.    Defendant First Call Bail and Surety, Inc. is a Montana corporation

licensed under the laws of the State of Montana with its principle place of business

at 2419 Mullan Road, Suite H, Missoula, MT 59808.1

       20.    Defendant Michael Ratzburg is the owner and operator of First Call

Bail and Surety, Inc. Before opening First Call, Ratzburg owned at least one other

bail bonding companies, Grizzly Bail. Ratzburg resides in Missoula, Montana.

       21.    Defendant International Fidelity Insurance Company is a New Jersey

corporation, with its principal place of business in California.

       22.    Defendant Allegheny Casualty Company is a New Jersey corporation

with its principal place of business in California. Allegheny is a subsidiary of

International Fidelity.2

       23.    AIA Holdings, Inc. is a corporation made up of Defendant Allegheny

Casualty, Defendant International Fidelity, and a third company, Associated Bond.

AIA is self-described as the nation’s “oldest and largest family of bail bond




1
  The Montana Insurance Commissioner lists an alternate potential address for First Call: 400
West Broadway, Suite 101-412, Missoula, MT 59802.
2
  For example, in its 2018 annual financial statement, Allegheny lists www.ific.com as its
website. Allegheny Casualty Company, Annual Statement for the Year 2018 of Allegheny
Casualty Company, 1 (Feb. 22, 2019),
https://interactive.web.insurance.ca.gov/sdrive/companyprofile/2018/propertyAndCasualty/annu
al/13285.2018.P.AN.PK.O.M.3668249.pdf.

                                              7
         Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 8 of 70



insurance companies.” AIA is a California corporation with its principal place of

business in California.

       24.    Under a Managing General Agent agreement between AIA and

International Fidelity, AIA engages in all bail bonds marketing and underwriting on

behalf of the Allegheny, International Fidelity, and Associated Bond consortium.3

       25.    Defendant Montana Civil Assistance Group is a not-for-profit

organization registered under section 501(c)(4) of the Internal Revenue Code and

domiciled at 745 Dry Gulch Road, Stevensville, MT 59870.

       26.    Defendant Van Ness Baker, Jr. is the Vice President and co-founder of

the Montana Civil Assistance Group and a resident of Stevensville, Montana.

       27.    Defendant Jason Haack is the President and co-founder of the Montana

Civil Assistance Group and a resident of Colombia, South America.

                          IV.    STATEMENT OF FACTS
A.     Mr. Mitchell and Ms. Meuchell contracted with private bond companies
       to ensure Mr. Mitchell’s release from jail.
       28.    On January 4, 2017, Eugene Mitchell was in jail accused of Failure to

Carry Proof or Exhibit Insurance (2nd) and Driving While License Suspended or

Revoked. The maximum penalty for the charge of failure to carry proof of or exhibit



3
 N.J. Comm’r of Banking & Ins., Report on Examination as to the Condition of the Allegheny
Casualty Company, 5 (2017),
https://www.nj.gov/dobi/division_insurance/solvency/finexam_rpt13285allegheny2015.pdf.
                                              8
            Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 9 of 70



insurance was a fine of $350. Mont. Code Ann. § 61-6-304. The maximum penalty

for the charge of driving while license suspended or revoked was a $500 fine or six

months’ incarceration. Mont. Code Ann. § 61-5-212.

          29.    In January 2017, Mr. Mitchell was employed doing concrete work. He

was supporting his wife, Shayleen Meuchell, and their two children. The bond set

for his release was $1,670.4 Mitchell and his family could not afford to pay the full

bond amount.

          30.    To secure his release from jail, Mr. Mitchell entered into a bail bond

agreement with International Fidelity and Allegheny through a bondsman, Michael

Ratzburg of First Call. Ms. Meuchell, as an indemnitor, was also party to the

agreement. Neither Ms. Meuchell nor Mr. Mitchell had an adequate opportunity to

review the terms of the bond agreement, which was not subject to negotiation.

          31.    Ratzburg agreed that Mr. Mitchell and Ms. Meuchell could pay their

$228 bond premium—a nonrefundable deposit paid in exchange for the Bond

Company Defendants posting and guaranteeing the full bond—in two installments

of approximately $115. 5 Ms. Meuchell paid $115 in person on January 4, 2017, and




4
    It is possible that a prior failure to appear bench warrant was factored into this bail amount.
5
    Defendant Ratzburg often allowed clients to pay deposits on their bail bonds in installments.

                                                   9
           Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 10 of 70



the remaining $115 at a Wheat Montana sandwich shop approximately one week

later.6

          32.   During a brief exchange that occurred when Mr. Mitchell was released

from jail, Ratzburg threatened that if Mr. Mitchell did not pay the outstanding

amount due on his premium or comply with the bond agreement, Ratzburg would

“get” him.

          33.   After his release, Mr. Mitchell inadvertently failed to appear for a court

hearing on April 19, 2017.

          34.   That same day, a Ravalli County Justice of the Peace issued a Notice of

Bond Forfeiture to First Call and Michael Ratzburg.

          35.   Although Montana law requires notice of any bond forfeiture to be

mailed to both the bond company and the accused individual, Montana Code § 46-

9-503, Mr. Mitchell did not receive notice of the forfeiture.

          36.   On April 21, 2017, two days after Mr. Mitchell’s failure to appear,

Ratzburg issued his own “Revocation of Bond” on behalf of First Call and

International Fidelity. The revocation of bond form that Ratzburg filed listed the

bond amount as $1,000.7


6
  Though the bail agreement lists Mr. Mitchell’s deposit as $228, Mr. Mitchell and Ms. Meuchell
paid $230 total through these two $115 installments. The reason for this discrepancy is unclear.
7
  It is unclear why Ratzburg’s Revocation of Bond documents listed the amount as $1,000, which
is less than the $1,670 bond amount listed in the bond agreement.
                                                10
         Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 11 of 70



B.      Ratzburg and First Call authorized bounty hunting by MCAG and its
        members.
        37.   On April 21, 2017, Ratzburg, on behalf of First Call, also issued a

document entitled “Arrest of Defendant on Bail Bond.” In that document, Ratzburg,

as owner of First Call, did “authorize and empower Van Ness Baker it’s [sic]

representative and its stead, to arrest and detain” Mr. Mitchell.

        38.   The document authorized Van Ness Baker, Vice President of MCAG,

to seize Mr. Mitchell and surrender him to the Ravalli County jail on Ratzburg’s

behalf. Van Ness Baker acted as the authorized agent of Ratzburg and First Call in

directing and participating in MCAG’s arrest and detention of Mr. Mitchell. Baker

and Haack coordinated the MCAG’s operation pursuant to the authority granted by

Ratzburg and First Call.8

        39.   Ratzburg told MCAG that Mr. Mitchell owed half of his bond premium,

or $115. But Mr. Mitchell and Ms. Meuchell had already paid Ratzburg the full bond

premium in two payments: one at the jail when Ms. Meuchell signed the bond

agreement and one the following week, paid in cash at a Wheat Montana sandwich

shop.




8
 A separate document executed between Ratzburg and MCAG authorized MCAG to apprehend
Mitchell in exchange for payment. See “Bail Fugitive Recovery Payment Agreement,”
Defendant’s Motion to Dismiss at 18–19, State of Montana v. Van Mitchell Baker, Mont. 4th Jud.
Dist., No. DC-17-588, (March 29, 2019).
                                              11
          Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 12 of 70



       40.    MCAG was established on August 31, 2015. MCAG is organized into

battalions and companies with a chain-of-command structure modeled on the

military. MCAG recommends that its members carry AR-15 type rifles to be the

“last line of defense against any threat” to our nation.

       41.    At the time Ratzburg contracted with Baker, Baker was a co-owner and

Vice President of MCAG, and Defendant Jason Haack ran the organization, served

as its President, and gave all directives for MCAG activities.

       42.    MCAG engages in the apprehension, arrest, and surrender of

individuals out on private bail bonds—an activity commonly known as “bounty

hunting.” During its nearly four-year history, MCAG has recruited bounty hunters

in Montana, Arizona, Utah, Nevada, and Idaho.

       43.    In an online recruitment posting, MCAG said: “[We are] employed by

bail bondsmen; we are usually paid about 10% of the total bail amount, but this

commission can vary on an individual, case-by-case basis; usually depending upon

the difficulty level of the assignment and the approach used to exonerate the bail

bond.”9




9
 See also Eric Granof, To Catch a Fugitive, AIA Surety Bail Bond Blog (May 27, 2011),
https://www.aiasurety.com/bail-bond-blog/to-catch-a-fugitive/ (“Hired by bail bondsmen, bounty
hunters typically earn 10 percent of a bail bond . . . So if someone jumps on a $5,000 bond and a
bounty hunter nabs him, he would earn about $500 for that capture.”).

                                               12
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 13 of 70



       44.    MCAG previously operated under the name the Montana Minutemen.

       45.    Between April 21, 2017 and April 23, 2017, MCAG members staked

out the home of Mr. Mitchell and Ms. Meuchell while others went to businesses that

Mr. Mitchell frequented.10

       46.    On April 21, MCAG member Skylar Reese-Bamford knocked on the

door of Mr. Mitchell and Ms. Meuchell’s home. Ms. Meuchell answered with her

two young children. Ms. Reese-Bamford did not identify herself as an MCAG

member or tell Ms. Meuchell there was a Notice of Bond Forfeiture for Mr. Mitchell.

Instead, Ms. Reese-Bamford said she was looking for Jerry Winkel. Ms. Meuchell

responded by saying she didn’t know anyone by that name.

       47.    Ms. Reese-Bamford left, only to return a short time later and knock

again. This time, Ms. Reese-Bamford asked whether Eugene Mitchell was home.

Ms. Meuchell said he wasn’t.

       48.    As Ms. Reese-Bamford drove away, Ms. Meuchell noticed that the car

emitted a loud sound, like the vehicle had lost its muffler. For the next several hours

and into the evening, Ms. Meuchell could hear the car driving on the roads adjacent

to the couple’s home. Ms. Meuchell found the experience troubling, as it seemed the

woman who’d come to her door was monitoring the house. Ms. Meuchell was


10
  During one such visit on April 22, 2017, three MCAG members got into an altercation with
the owner the Bum Steer bar.
                                               13
       Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 14 of 70



concerned for Mr. Mitchell’s safety, as it was clear to her that these strangers were

looking for him, and she did not understand why.

      49.    On the evening of April 21, 2017, Majesta Larocque and her 16-year-

old daughter came to Mr. Mitchell’s residence to collect money owed for babysitting

one of the children of Mr. Mitchell and Ms. Meuchell. When Ms. Larocque pulled

into Mr. Mitchell and Ms. Meuchell’s driveway, two cars rapidly approached and

blocked Ms. Larocque’s exit. The group—including Defendant Baker and MCAG

members Miller, Crick, and Reese-Bamford—approached the vehicle wearing body

armor and pointed guns at the car. The group questioned Ms. Larocque about Mr.

Mitchell’s whereabouts for 15–20 minutes. Ms. Larocque and her daughter were

very frightened by this experience.

C.    MCAG forcibly entered the home of Mr. Mitchell and Ms. Meuchell on
      April 23, 2017.
      50.    At approximately 9:20 p.m. on April 23, 2017, Mr. Mitchell, Ms.

Meuchell, and their then four-year-old child, B.M., were all in bed in their pajamas.

They heard a loud bang as their door was kicked in and at least five armed men and




                                         14
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 15 of 70



women—Defendant Baker and MCAG members Crick, Miller, Wallace, and Reese-

Bamford—entered their home, directed by Defendant Haack.

      51.    While Crick, Baker, Miller, and Reese-Bamford stormed into the

bedroom, White and Wallace stood guard in the living room and street, respectively.

      52.    The MCAG members were wearing body armor with badges

resembling Sheriff’s badges. Everyone in the group was carrying firearms.

Defendant Baker and Jesse White were carrying assault rifles.

      53.    A Field Report generated by MCAG members who participated in the

attack reflects that they knew there was at least one child in the home when they

broke in. Indeed, Ms. Reese-Bamford saw the children when she knocked on the

family’s door two days earlier. MCAG members also reported seeing Ms. Meuchell

through the window at approximately 8:00 p.m. before they entered.

      54.    Crick, Baker, Miller, and Reese-Bamford found Mr. Mitchell, Ms.

Meuchell, and B.M. in the bedroom. Defendant Baker pointed his assault rifle at the

family and told Mr. Mitchell to come with him to the living room so B.M. would not

have to see the arrest.

      55.    Mr. Mitchell cooperated with the bounty hunters, who took him outside

and “arrested” him. According to the MCAG Field Report, Haack called Ratzburg

during the attack to notify Ratzburg that “the team was securing Mitchell.” Ratzburg


                                        15
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 16 of 70



responded by saying he would “email [Haack] the amount for the invoice” the

following day.

      56.    The bounty hunters arrived at the Ravalli County Detention Center

(RCDC) with Mr. Mitchell at approximately 10:20 p.m. and requested that Mr.

Mitchell be jailed.

      57.    Though the bounty hunters had the petition to revoke bail from

Ratzburg, they did not have an arrest warrant signed by a judge. The RCDC refused

to accept Mr. Mitchell into custody because MCAG lacked authority to arrest him.

      58.    A bondsman named Jeff Carter of Lucky Bail Bonds, arrived at the jail

around 10:35 p.m. MCAG’s members handed Mr. Mitchell over to Mr. Carter, who

cuffed Mr. Mitchell and continued detaining him, allegedly due to a debt that Mr.

Mitchell owed Lucky Bail Bonds.

      59.    At approximately 10:45 p.m., two Ravalli County Sheriff’s deputies,

one identified by MCAG as Officer Neimeyer, arrived at the RCDC. Because

MCAG lacked valid arrest authority, Officer Neimeyer began to work up an

unlawful detainment charge against Defendant Baker and the other bounty hunters

around 11:25 p.m.

      60.    Officers from the Hamilton Police Department responded to calls to the

RCDC at approximately 11:30 p.m. The Hamilton Police Department discovered


                                        16
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 17 of 70



there was a Montana Highway Patrol Warrant for Mr. Mitchell’s arrest, and he was

taken into custody at 11:39 p.m.

      61.    After jailing Mr. Mitchell, Hamilton Sheriff Stephen Holton confronted

the MCAG members about attempting to surrender Mr. Mitchell without legal

authority. Sheriff Holton told the bounty hunters that “if there hadn’t been a warrant

for Mitchell [they] would all be in jail” and that the “Ravalli County Jail is off limits”

to MCAG members for surrenders.

      62.    The individual bounty hunters did not know on what authority they

seized, arrested, and surrendered Mr. Mitchell. Mr. Crick indicated in a subsequent

interview with law enforcement that he thought his involvement in MCAG made

him a peace officer. Similarly, Ms. Reese-Bamford was confused about whether

MCAG was a private entity or a government agency and had no idea what authority

MCAG purportedly had to make arrests or use force. Defendant Baker did not know

what purportedly gave him authority to kick in Mr. Mitchell and Ms. Meuchell’s

door and enter with assault rifles drawn. He explained that he was just following

orders of Defendant Haack, who gives all directives for the group. Baker




                                           17
       Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 18 of 70



acknowledged to law enforcement that it was a lapse of judgment to carry the rifle

into the home.



D.    Mr. Mitchell, Ms. Meuchell, and B.M. suffered injuries as a result of this
      attack.
      63.   B.M. was severely traumatized by the attack. She has difficulty sleeping

and has woken up in the middle of the night to ask her parents to confirm the door

is locked. Every time someone knocks on the door, she runs and hides. She is also

visibly bothered by her brother’s toy guns. B.M. has been in therapy to cope with

some of these symptoms.

      64.   Since the break-in, neither Mr. Mitchell nor Ms. Meuchell feel safe in

their own home. Ms. Meuchell gets nervous when Mr. Mitchell is away.

      65.   The family’s front door has been damaged since April 2017, which

presents a security risk and has led to increased utility bills. The family does not

have the financial resources to repair the door, which is estimated to cost

approximately $2,000.

E.    When American courts require money bail to secure pretrial release, the
      for-profit bail bond industry benefits.
      1. History

      66.   The importance of maintaining liberty while a person is accused but not

convicted of a crime dates back to the Magna Carta and early forms of habeas
                                        18
         Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 19 of 70



corpus.11 The American bail system borrowed many of its concepts from Anglo-

Saxon laws and practices. That traditional bail system provided for the notion of a

“surety” to pledge to guarantee the future appearance of the accused and payment of

any penalty if convicted.12,13 But a “surety” was typically a friend, neighbor, or

family member. The concept of commercial, for-profit sureties—which were not

permitted in England—emerged later.14

       67.     The rise of commercial sureties did not begin until the nineteenth

century. Though the precise date is unknown, commentators associate the industry’s

rise with increased westward expansion.15 By 1927, a study of the court records of

Cook County, Illinois relayed the outsized and abusive role of commercial

bondsmen.16


11
   See Caleb Foote, The Coming Constitutional Crisis in Bail: I and II, 113 Univ. Pa. L. Rev.
959, 965–67 (1965).
12
   Timothy R. Schnacke, Michael R. Jones & Claire M. B. Brooker, The History of Bail and
Pretrial Release, Pretrial Justice Inst., 1–2 (Sept. 23, 2010),
https://cdpsdocs.state.co.us/ccjj/Committees/BailSub/Handouts/HistoryofBail-Pre-TrialRelease-
PJI_2010.pdf.
13
   Further, money bond requirements in the English system were generally required only in the
event of a failure to appear—resembling what are referred to as “unsecured” bonds under many
modern systems. Rational and Transparent Bail Decision Making: Moving from a Cash-Based
to a Rise-Based Process, Pretrial Justice Inst. and the MacArthur Found., 11 (March 2012),
http://www.safetyandjusticechallenge.org/wp-content/uploads/2015/05/Rational-and-
Transparent-Bail-Decision-Making.pdf.
14
   Schnacke et al., History, supra note 12, at 6.
15
   Adam Liptak, Illegal Globally, Bail for Profit Remains in the U.S., N.Y. Times, Jan. 29, 2008,
at A1; Schnacke et al., History, at 7.
16
   Schnacke et al., History, supra note 12, at 7 (citing Wayne H. Thomas, Jr., Bail Reform in
America at 13–14 (Univ. CA Press 1977)).

                                               19
         Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 20 of 70




       2. Modern Iterations

       68.     Today, only the United States and the Philippines allow private

companies to operate as bond sureties.17 The use of a commercial, for-profit bail

bondsman is now prevalent in Montana and throughout the country.

       69.     A commercial bail bondsman enters a private agreement with the

arrested individual. To effectuate release from jail, the individual pays a non-

refundable premium or fee to the bondsman, and the bondsman agrees to pay the full

bond amount in the event that the individual fails to appear.18 If an individual fails

to appear, the court can initiate a forfeiture proceeding such that the full bond amount

may be forfeited. But there is typically a grace period during which the individual

can re-appear in court or be arrested and under those circumstances, the bond will

not be forfeited.

       70.     In Montana, forfeiture proceedings can only be initiated when a person

fails to appear; forfeiture cannot be based on other pretrial conduct. Mont. Code.



17
  Liptak, supra note 15.
18
  Timothy Schnacke, Michael R. Jones & Claire M. B. Brooker, Glossary of Terms and Phrases
Relating to Bail and the Pretrial Release or Detention Decision, Pretrial Justice Inst., 6 (March
11, 2011), https://cdpsdocs.state.co.us/ccjj/Committees/BailSub/Handouts/Glossary_Bail-
PretrialRelease_DetentionDecision-PJI_2011.pdf.

                                               20
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 21 of 70



Ann. § 46-9-503(2). A surety has 90 days after a failure to appear to “satisfactorily

excuse” that failure and retain the bond deposited. Mont. Code Ann. § 46-9-503(3).

       71.    Most commercial sureties charge deposits of 10% of the total bond

requirement.19 The bond premium paid to private bondsman is not returned to the

individual at the conclusion of the criminal case, even if the individual makes every

court appearance, the charges are dropped, or the person is acquitted.

       72.    Between 1990 and 2004, the proportion of jail releases in the U.S.

involving a private, for-profit surety nearly doubled in felony cases from 24 to 42

percent of cases.20 Release to a private, commercial surety is now the most common

form of pretrial release.21

       73.    Meanwhile, average bail amounts have risen. The national median for

a felony case in 2009 was $10,000, estimated as $11,700 in 2018 dollars.22 In the

Missoula District Court, which handles felonies, the average bail amount in cases


19
   Justice Policy Inst., For Better or For Profit: How the Bail Bonding Industry Stands in the
Way of Fair and Effective Pretrial Justice, 10 (Sept. 2012),
http://www.justicepolicy.org/uploads/justicepolicy/documents/_for_better_or_for_profit_.pdf.
20
   Thomas Cohen & Brian Reaves, State Court Processing Statistics, 1990-2004: Pretrial
Release of Felony Defendants in State Courts, Bureau of Justice Statistics Special Report, NCJ
214994 2 (Nov. 2007), https://www.bjs.gov/content/pub/pdf/prfdsc.pdf.
21
   Id.
22
   Thomas Cohen & Brian Reaves, U.S. State Court Processing Statistics, Felony Defendants in
Large Urban Counties, 2009-Statistical Tables, Bureau of Justice Statistics Statistical Tables,
NCJ 243777 19 (Dec. 2013), https://www.bjs.gov/content/pub/pdf/fdluc09.pdf; A recent reports
estimates median felony bail at $11,700 in 2018 dollars, Patrick Liu, Ryan Nunn & Jay
Shambaugh, The Economics of Bail and Pretrial Detention, the Hamilton Project, 19 (December
2018), http://www.hamiltonproject.org/assets/files/BailFineReform_EA_121818_6PM.pdf.

                                              21
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 22 of 70



where the individual posted bail was $15,803.87 between 2016 and 2017.23 In

Missoula Justice Court, which handles misdemeanors and other lower-level charges,

the average bail amount posted during same period was $5,123.88.

       74.    The Federal Reserve estimates that forty-six percent of Americans

would be unable to afford an unexpected $400 expense without selling something or

borrowing, putting many bail bond requirements out of financial reach for scores of

people.24

       75.    In Montana, commercial bail practices are regulated through insurance

codes. See, e.g., Mont. Code Ann. § 33-17-1203(1)(b) (outlining continuing

education requirements for insurance producers of surety bail bonds).

       3. Bounty Hunting

       76.    Bounty hunters, who often refer to themselves as “fugitive recovery

agents,” are “hired or contracted by a bail bond company or surety to act as their

agent for the purpose of locating and apprehending a fugitive that has failed to appear

in court or has otherwise violated the bail bond contract or release conditions.”25



23
   This average is based on the Missoula District Court bail register, and excludes the bail
amounts in cases where an individual was unable to post the bail amount and remained
incarcerated.
24
   Federal Reserve System, Report on Economic Well-Being of U.S. Households in 2015, 1 (May
2016) https://www.federalreserve.gov/2015-report-economic-well-being-us-households-
201605.pdf.
25
   FAQ, National Association of Fugitive Recovery Agents, https://www.fugitive-
recovery.org/faq.htm (last accessed April 11, 2019).
                                                22
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 23 of 70



      77.    Bounty hunting is an abnormally and inherently dangerous activity.

Bounty hunters, including MCAG, regularly carry firearms and batons and wear

bulletproof vests during their recovery operations. Defendant Baker stated in an

interview with law enforcement after the attack that it was MCAG policy to carry

guns. And MCAG provided firearms to members, including a shotgun, without any

training on safe use or storage.

      78.    Bounty hunters frequently point guns at people in the course of their

operations, as they did in apprehending Mr. Mitchell. Bounty hunters also frequently

break down doors to gain access to the homes of the people they are pursuing, as

they did here.

      79.    In an interview with law enforcement after the attack on Mr. Mitchell

and Ms. Meuchell’s home, Larry Wallace stated that he liked the idea of “basically

doing the type of work that law enforcement does, because that’s what we do, we

carry guns, we carry weapons . . . even though we don’t have police training . . . .”

      80.    Approximately one week before the attack on Mr. Mitchell’s home,

MCAG pursued a woman named Rebecca Lynn White after she missed a court date.

As part of that bounty hunting operation, MCAG surveilled White from across a

river in Missoula County. Defendant Baker did this lying on his stomach under a

bridge, decked out in camouflage. Lacking binoculars, Baker used the scope

mounted on his rifle, which he pointed at White and others. Missoula County
                                         23
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 24 of 70



deputies confronted him, determined that the rifle was unloaded, and told him it was

illegal to use his rifle-mounted scope in this way. The deputies declined to arrest

Baker. Ms. White’s bond was $335.

       81.    In December 2016, MCAG members broke down the front door of the

lodging unit where a man named William Michael Paul Formway was staying. This

attack occurred after a standoff that lasted more than four hours overnight.

       82.    On December 16, 2016—more than four months before MCAG

arrested Mr. Mitchell—Chief Deputy Missoula County Attorney Jason Marks

warned Defendant Haack in an email that “[f]orcing a door and entering a residence

without consent potentially constitutes criminal mischief and trespass. Bondsman

and their agents are not immune from prosecution for crimes committed in the

process of apprehending a fugitive. . . . It is certainly possible that other jurisdictions

may have some sort of policy that they will not prosecute misdemeanor offenses in

the context you outlined in your e-mail. The Missoula County Attorney’s Office has

no such policy and I would encourage you to modify your practices to avoid potential

criminal charges.”

       83.    In 2016, Ratzburg contracted MCAG members to apprehend one of his

bail bonds clients, Dustin McGough. MCAG members entered Mr. McGough’s

home, displaying firearms, and detained Mr. McGough’s family and friends while


                                            24
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 25 of 70



they searched the home. Mr. McGough’s wife was present when the armed bounty

hunters entered his residence.

       84.    In 2016, Ratzburg contracted MCAG members to apprehend Kathryn

Dutton, a young woman who Ratzburg indicated owed him $150 on her bond.

MCAG members deceived Ms. Dutton and, after seizing and apprehending her,

brought her to Ratzburg’s office in Missoula in an effort to extort payment before

surrendering her to the jail.

       85.    MCAG engaged in bounty hunting as often as once a week between

September 2015 and April 2017, primarily on behalf of bail bonds agents in the

Missoula area.

       86.    In 2017, a bounty hunter in Great Falls, Montana was accused of

pointing a pistol at three children while searching for an individual.26

       87.    In February 2019, Jason Marks, Chief Deputy County Attorney for

Missoula County testified before the Montana Legislature: “We had previous issues

with armed bounty hunters . . . [taking actions such as] pulling young baby sitter

over while armed to gain intelligence on someone else . . . .”27



26
   Seaborn Larson, Bounty Hunter Accused of Pointing Pistol at Girls, Great Falls Tribune, Sept.
25, 2017, https://www.greatfallstribune.com/story/news/crime/2017/09/25/bounty-hunter-
accused-pointing-pistol-girls/701572001/.
27
   Generally Revise Laws Regarding Bail Bonds: Hearing on S.B. 273 Before Senate Judiciary
Committee, Montana State Senate, 66th Legislature, Feb. 21, 2019, at 09: 43: 50.
                                               25
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 26 of 70



       88.    Also in February 2019, Detective Captain David Conway with the

Missoula County Sheriff’s Department testified that his office is aware of bounty

hunters kicking down the door of a person uninvolved in any fugitive recovery and

engaging in traffic stops while armed to gain “intelligence” on the person they were

seeking to apprehend.28 Detective Conway stated that many bounty hunters operate

without formal training.29

       89.    Montana law allows commercial bond sureties to arrest and surrender

their principals, Mont. Code. Ann. § 46-9-510, including through bounty hunters.

Montana is one of seventeen states that does not impose a license requirement or

otherwise regulate the practice of bounty hunting.30

F.     Large insurance companies fund and reap the profits from the for-profit
       bail bond industry.
       90.    There are approximately 25,000 individual bail bond agents

nationwide, but the majority of their business is underwritten by only nine insurance

companies, including Defendants Allegheny and International Fidelity as part of




28
   Id. at 09:46:00.
29
   Id. at 09:48: 00.
30
   Daphne Congcong Zhang, Lax Washington oversight of bounty hunters set stage for mayhem,
tragedy, The Seattle Times, last updated Jan. 16, 2019, https://www.seattletimes.com/seattle-
news/times-watchdog/high-adrenaline-bounty-hunter-industry-operates-with-little-oversight-
despite-concerns-over-training-tactics/.

                                             26
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 27 of 70



AIA Holdings, Inc.31 In total, insurance companies secure an estimated $14 billion

in bail bonds and earn an estimated $1.4 to $2.4 billion each year.32

       91.    Bail insurance is often part of the portfolio of much larger corporations,

including IAT Insurance Group, a “privately owned, specialty insurance company

providing property and casualty products for businesses and individuals.”33 In April

2018, IAT acquired IFIC Surety Group, Inc. The acquisition closed on February 27,

2019, with IAT paying $24.8 million for The Chestnut Group, Inc., which fully owns

Allegheny.34 As noted in the press release announcing the acquisition, “IFIC Surety

Group consists of International Fidelity Insurance Company and its subsidiary

Allegheny Casualty Company.”35 Members of the Board of Directors of IFIC Group

also own 56.66% of AIA Holdings, which serves as “a managing general agent for

the Company’s bail business.”36


31
   Color of Change & ACLU, Selling Off Our Freedom: How insurance corporations have taken
over our bail system, 6–7, 22 (May 2017),
https://www.aclu.org/sites/default/files/field_document/059_bail_report_2_1.pdf.
32
   Id. at 9–10.
33
   IAT Insurance Group, News Release: IAT Insurance Group to Acquire IFIC Surety Group,
Inc., https://www.iatinsurancegroup.com/about-us/news/2018/04/03/iat-insurance-group-to-
acquire-ific-surety-group-inc (last visited April 11, 2019).
34
   International Fidelity Insurance Company, Annual Statement for the Year 2018 of the
International Fidelity Insurance Company, 26 (Feb. 22, 2019),
https://interactive.web.insurance.ca.gov/sdrive/companyprofile/2018/propertyAndCasualty/annu
al/11592.2018.P.AN.PK.O.M.3668030.pdf.
35
   IAT Insurance Group, News Release, supra note 33.
36
   N.J. Comm’r of Banking & Ins., Report on Examination as to the Condition of the
International Fidelity Insurance Company, 3 (2017),
https://www.nj.gov/dobi/division_insurance/solvency/finexam_rpt11592interfidelity2015.pdf.

                                             27
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 28 of 70



       92.    According to International Fidelity’s 2016 Annual Statement, bail

contracts accounted for 13.6% of “company’s total direct and assumed premium for

2016.”37

       93.    Allegheny “earns bail premium on the first day the bond is issued,” as

a permitted departure from the standard practice prescribed by the National

Association of Insurance Commissioners.38 This exception to the regular rules of the

NAIC added an additional $2,043,018 (net of taxes) to Allegheny’s surplus in 2017

and an additional $2,576,219 in 2018.39

       94.    International Fidelity also “earns bail premium on the first day bond is

issued,” as a permitted departure from the standard practice prescribed by the

National Association of Insurance Commissioners.40 This exception to the regular

rules of the NAIC added an additional $1,089,974 (net of taxes) to International

Fidelity’s surplus in 2017 and an additional $1,310,834 in 2018.41




37
   International Fidelity, Management’s Discussion and Analysis of Financial Condition and
Results of Operations Annual Statement for the Year Ending December 31, 2016, 2 (March 23,
2017), https://www.ific.com/wp-content/uploads/2017/05/IFIC-MDA-2016-Final-Revised.pdf.
38
   Allegheny Annual Statement for the Year 2018, supra note 2, at 14.
39
   Id.
40
   International Fidelity, Annual Statement for the Year 2018, supra note 34, at 14.
41
   Id.

                                            28
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 29 of 70



       95.    In 2018, Allegheny underwrote $825,225,175 in bail bond values

across the country, earning itself and its bail agents $29,811,250 before brokerage

expenses.42

       96.    In 2018, International Fidelity underwrote $894,074,875 in bail bond

values across the country, earning itself and its bail agents $15,040,861 before

brokerage expenses.43

       97.    The bail bond portion of most insurers’ portfolios, including those

affiliated with and managed by AIA Holdings, operates with minimal risk because

individual bail agents absorb any losses.44 AIA Holdings acknowledges that bail

agents are responsible for any forfeitures or other such losses and because of this,

AIA “sustained no losses on this book of business in 2015 and 2014.” 45 In 2013,


42
   Allegheny Casualty Company, Supplement for the Year 2018 of the Allegheny Casualty
Company, “Bail Bond Supplement,” 94 (Feb. 22, 2019),
https://interactive.web.insurance.ca.gov/sdrive/companyprofile/2018/propertyAndCasualty/annu
al/13285.2018.P.AN.PO.O.M.3668250.pdf.
43
   International Fidelity Insurance Company, Supplement for the Year 2018 of the International
Fidelity Insurance Company, “Bail Bond Supplement,” 97 (Feb. 22, 2019),
https://interactive.web.insurance.ca.gov/sdrive/companyprofile/2018/propertyAndCasualty/annu
al/11592.2018.P.AN.PO.O.M.3668031.pdf.
44
   See Selling Off Our Freedom, supra note 31, at 24. This lower risk assumed when an insurer
underwrites bail bonds is reflected in the fact that Allegheny reinsures its business with
International Fidelity, except for Allegheny’s bail bonds portfolio. N.J. Audit, Report on
International Fidelity, supra note 36, at 3.
45
   Allegheny Casualty Company, International Fidelity Insurance Company, Management
Discussion and Analysis of Financial Condition and Results of Operations for the year ending
December 31, 2015, (March 23, 2016),
https://interactive.web.insurance.ca.gov/sdrive/companyprofile/2015/propertyAndCasualty/annu
al/13285.2015.P.AN.PM.O.A.3107706.pdf.

                                              29
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 30 of 70



AIA’s chief legal officer stated, “You know how many checks this company has

written to pay a bail loss? Not a single one.”46

       98.    In 2016,47 2017,48 and 2018,49 Allegheny did not experience any losses

related to its bail portfolio.

       99.    In 2016,50 2017,51 and 2018,52 International Fidelity did not experience

any losses related to its bail portfolio.




46
   Shane Bauer, Inside the Wild, Shadowy, and Highly Lucrative Bail Industry, Mother Jones
(May/June 2014), https://www.motherjones.com/politics/2014/06/bail-bond-prison-industry/.
47
   Allegheny Casualty Company, Supplement for the Year 2016 of the Allegheny Casualty
Company, “Bail Bond Supplement,” 84 (Feb. 23, 2017),
https://interactive.web.insurance.ca.gov/sdrive/companyprofile/2016/propertyAndCasualty/annu
al/13285.2016.P.AN.PO.O.M.3267514.pdf.
48
   Allegheny Casualty Company, Supplement for the Year 2017 of the Allegheny Casualty
Company, “Bail Bond Supplement,” 80 (Feb. 23, 2018),
https://interactive.web.insurance.ca.gov/sdrive/companyprofile/2017/propertyAndCasualty/annu
al/13285.2017.P.AN.PO.O.M.3459353.pdf
49
   Allegheny, Supplement for the Year 2018, supra note 42, at 93.
50
   International Fidelity Insurance Company, Supplement for the Year 2016 of the International
Fidelity Insurance Company, “Bail Bond Supplement,” 91 (Feb. 23, 2017),
https://interactive.web.insurance.ca.gov/sdrive/companyprofile/2016/propertyAndCasualty/annu
al/11592.2016.P.AN.PO.O.M.3267378.pdf.
51
   International Fidelity Insurance Company, Supplement for the Year 2017 of the International
Fidelity Insurance Company, “Bail Bond Supplement,” 87 (Feb. 23, 2018),
https://interactive.web.insurance.ca.gov/sdrive/companyprofile/2017/propertyAndCasualty/annu
al/11592.2017.P.AN.PO.O.M.3458908.pdf.
52
   International Fidelity, Supplement for the Year 2018, supra note 43, at 97.

                                              30
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 31 of 70



      1. The bounty hunters acted as agents of Ratzburg and First Call and
         subagents of the insurance companies. Ratzburg and First Call are agents
         of the insurance companies.

      100. The “Arrest of Defendant on Bail Bond” document that First Call issued

to Baker through Ratzburg authorized Baker to arrest and detain Mr. Mitchell as its

“representative and its stead.”

      101. It was within the scope of authority granted by Ratzburg to Baker and

MCAG to “track, locate, identify, arrest, transport, and surrender” Mr. Mitchell.

      102. Ratzburg and First Call acted as the “duly appointed independent bail

producer” of International Fidelity and Allegheny when Ratzburg entered into the

Bail Bond Agreement with Mr. Mitchell and Ms. Meuchell. Ex. A (Bail Bond

Agreement). International Fidelity and Allegheny are defined as the “Surety” parties

to the agreement.

      103. When they hired Baker and MCAG to apprehend Mr. Mitchell,

Ratzburg and First Call acted within the scope of authority conferred on First Call

as a bail producer for International Fidelity and Allegheny.

      104.   AIA is the public face of Allegheny and International Fidelity. For

example, a Google search for either International Fidelity or Allegheny Casualty

directs the user to AIA’s website, www.aiasurety.com.

      105. Allegheny and International Fidelity are bound by the public statements

of AIA.
                                         31
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 32 of 70



       106. Through AIA, International Fidelity and Allegheny support the bail

producers whose bonds they underwrite.

       107.    According to its website, AIA provides bond agents with “24/7 Agent

Support.”53

       108. The site actively encourages visitors to “Become an AIA Agent” by

submitting an online form or calling 800.935.BAIL.

       109. AIA also operates www.bailvisionpro.com, an account management

program for bail agents to keep track of their clients and the status of various bonds.

According to the website, Bail Vision Pro is “powered by AIA.”

       110. AIA also operates www.expertbail.com, a website geared towards

people seeking a bail bond agent. ExpertBail is “backed by AIA.” According to the

ExpertBail website, “AIA utilizes a unique ‘service- focused’ approach to

management, that provides its family of agents with the knowledge, tools and

commitment they need to grow their business and succeed.”54 This same site

indicates that “AIA prides itself on building long-term relationships with its partner




53
   Allegheny Casualty, International Fidelity & Associated Bond,
https://www.aiasurety.com/about/ (last visited April 11, 2019).
54
   ExpertBail, ExpertBail’s Origin¸http://www.expertbail.com/about-expertbail/expertbails-
origin (last visited April 11, 2019).

                                              32
            Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 33 of 70



agents that foster trust and confidence.”55 The ExpertBail website also directs users

to call 800.395.BAIL.

           111. AIA provides bail agents with a digest of the pertinent laws surrounding

bail, forfeiture, and apprehension in every state. Montana’s digest is available at

https://www.aiasurety.com/montana-bail-resources/.

           112. AIA co-sponsored the Winter 2019 conference of the Professional

Bondsman of the United States, a trade organization for bail bond agents. AIA’s

sponsorship included dinners and other events during the conference.

           113. Allegheny, International Fidelity, and AIA provide the form bail

agreements agents use with individual clients. The agreement Ratzburg required Mr.

Mitchell and Ms. Meuchell to sign was an AIA form agreement that has also been

used in at least Nevada, North Carolina, California, and Texas. AIA requires its

agents to use its standard form agreements.

           114. Based on the agreement terms and the Managing General Agent

agreement between the insurance companies, Ratzburg and First Call are agents of

Allegheny, and International Fidelity.

           115. Allegheny and International Fidelity, through AIA, exercise control

over the bail bond agents with whom they work.



55
     Id.
                                             33
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 34 of 70



       116. To become an authorized bond agent through AIA, the bondsman must

complete a two-part application that includes disclosure of criminal records,

financial information, and assets.56

       117. Allegheny and International Fidelity, as well as AIA, determine the

amount of bail bonds a given agent is authorized to write. A bond agent is authorized

to write higher bond amounts as a result of developing credit with AIA, International

Fidelity, and Allegheny.

       118. Allegheny and International Fidelity, as well as AIA, set the financial

terms of the relationship through producer agreements, under which bail bond agents

absorb the losses for any bail bonds that are forfeited. As a result, individual bail

bond agents are liable for the losses resulting from any bond forfeitures, which they

pay either directly or through a fund—known as the “build-up fund”—into which

the bond agents themselves make deposits.

       119. Build-up funds are set up to lower financial risks to Allegheny,

International Fidelity, as well as AIA. The assets in the build-up fund are in addition

to the regular expenses and losses—including through forfeiture—that bail agents

are expected to cover themselves.



56
  Become an AIA Agent, https://becomeanagent.aiasurety.com/contact/ (last visited April 11,
2019).

                                              34
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 35 of 70



       120. At the end of 2018, Allegheny’s build-up fund had $17,273,512 in

assets.57

       121. At the end of 2018, International Fidelity’s build-up fund had

$23,491,214 in assets.58

       122. Allegheny and International Fidelity, through AIA, exercise control

over bond agents through public relations efforts. A blog post by AIA’s Vice

President of Corporate Communications, Eric Granof, notes that “AIA travels the

country and talks with bail agents, including in how to ‘put our best foot forward.’”59

       123. The AIA ExpertBail network was “created to separate the high quality

bail bond agent from the low quality bail bond agent.”60

       124. Allegheny and International Fidelity are aware that bounty hunting or

fugitive recovery practices are a part of the for-profit bond economy.

       125. For      example,      Eric    Granof,     Vice     President     of   Corporate

Communications for AIA, wrote in an article for USA Today: “Fugitive recovery




57
   Allegheny, Supplement for the Year 2018, supra note 42, at 93.
58
   International Fidelity, Supplement for the Year 2018, supra note 43, at 97.
59
   ExpertBail, The Image of Bail:Putting Our Best Foot Forward,
http://www.expertbail.com/resources/bail-industry-news/the-image-of-bail-putting-our-best-foot-
forward (last visited April 11, 2019).
60
   ExpertBail, Why ExpertBail?, http://www.expertbail.com/about-expertbail/why-expertbail
(last visited April 11, 2019).

                                              35
         Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 36 of 70



agents do play an important role in the bail bond process and are a valuable

component of what makes the bail process so effective.”61

       126. A video posted on AIA’s ExpertBail website shares the viewpoint that

commercial surety bonds are preferable to unsecured money bonds, where an

individual only owes a payment in the event of a failure to appear in court. In that

video, the speaker states that public policy should weigh against unsecured bonds in

part because “where the county is your bail bondsman,” if a person fails to appear in

court “they don’t actually go look for you,” as compared to for-profit actors who,

through bounty hunting, sometimes seek out and apprehend individual clients. 62

       127. The AIA Bail Bond Blog characterizes bounty hunting as a common

practice that “illustrates the forces that come into play when a defendant disappears


61
   Eric Granof, The Truth About These Tough Guys, USA Today, January 31, 2012, available at
https://www.expertbail.com/resources/bail-industry-news/the-truth-about-the-bail-bond-
profession-what-everyone-should-know (last visited April 11, 2019).
62
   ExpertBail, Setting the Record Straight on the Real Cost of PR Bonds,
http://www.expertbail.com/resources/bail-industry-news/setting-the-record-straight-on-the-real-
cost-of-pr-bonds, at 7:45. In fact, methodologically sound empirical evidence demonstrates that
unsecured bonds are just as effective as secured bail bonds at assuring court appearances and
avoiding arrest during the pretrial release period. See Michael R. Jones, Unsecured Bonds: The
as Effective and Most Efficient Pretrial Release Option, Pretrial Justice Inst., (October 2013),
https://pdfs.semanticscholar.org/5444/7711f036e000af0f177e176584b7aa7532f7.pdf; see also
Schultz v. State, 330 F. Supp. 3d 1344, 1362 (N.D. Ala. 2018) (Finding “secured money bail is
not more effective than unsecured bail or non-monetary conditions of release in reducing the risk
of flight from prosecution.”); ODonnell v. Harris Cty., Texas, 251 F. Supp. 3d 1052, 1068 (S.D.
Tex. 2017), aff’d as modified, 882 F.3d 528 (5th Cir. 2018), and aff’d as modified sub nom.,
ODonnell v. Harris Cty., 892 F.3d 147 (5th Cir. 2018) (“[T]he reliable record evidence shows
that release on secured money bail does not mitigate those risks for misdemeanor defendants
better than release on unsecured or nonfinancial conditions, in Harris County or elsewhere.”).

                                               36
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 37 of 70



while out on bail and a pile of cash is at stake.”63 The blog continues: “If the

defendant flees, the bonding company stands to lose the [full amount of bond

posted.] To recoup the loss, it can . . . hire a bail enforcement agent—sometimes

called a bounty hunter—to track down the defendant before the bond forfeiture

hearing.”

       128. By making individual bail bondsman liable for any forfeiture losses,

Allegheny and International Fidelity incentivize their bondsmen agents like

Ratzburg to hire aggressive bounty hunters or to undertake aggressive bounty

hunting activity themselves.

       129. Eric Granof of AIA has acknowledged these incentives directly. In his

article for USA Today, Granof noted:

       If [a bail bondsman’s client] fails to make a single appearance, it is the
       bail agent’s responsibility to remand (the legal term for “return”) the
       defendant back into custody. However, if the defendant does not show
       up to court for any reason whatsoever and is not remanded, the bail
       agent becomes responsible for the full amount of the bond, which, in
       this [illustrative] case, is $10,000.

       As one can well imagine, the motivation to ensure the appearance of
       any defendant is extremely important to a bail agents’ [sic] survival.
       Receiving $1,000 for a service and then having to pay $10,000 back if
       you do not do your job is strong motivation. Depending on the size of


63
  Eric Granof, Bail Bond Firm Saves $200,000 by Capturing Fugitive, AIA Bail Bond Blog
(June 6, 2011), https://www.aiasurety.com/bail-bond-blog/bail-bond-firm-saves-200000-by-
capturing-fugitive/ (emphasis added).

                                             37
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 38 of 70



       the bond, it only may take one or two bonds going bad to have a material
       impact on the agent’s business . . .

       . . . The powerful financial incentive that is built into the bail system is
       what makes the bail bond industry so effective at what it does: getting
       defendants to show up for court.64

       130. Eric Granof reposted an article on the AIA Bail Bond Blog stating,

“Whereas police earn a salary no matter who they round up, bounty hunters only get

paid if they bring back the defendant. This system gives bounty hunters a greater

incentive to catch a fugitive . . . .”65

       131. Another AIA Bail Blog post states: “Commercial bail bond agents are

financially incented to ensure that defendants show up for court. If someone fails to

appear the bail bondsman is ultimately responsible for the full amount of the bond.

Law enforcement on the other hand is too busy to go after these types of warrants

and typically only make an arrest when the person is picked up for another charge.”66

                     V.      GENERAL RICO ALLEGATIONS
       132. Plaintiffs are “persons” with standing to sue within the meaning of the

Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. § 1961(3)

and 1964(c).



64
   Granof, supra note 61 (emphasis added).
65
   Granof, To Catch a Fugitive, supra note 9.
66
   Eric Granof, The Effectiveness of Commercial Bail: We Go Get Them, AIA Bail Bond Blog
(May 7, 2014), https://www.aiasurety.com/bail-bond-blog/the-effectiveness-of-commercial-bail-
we-go-get-them/.
                                              38
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 39 of 70



      133. The Defendants are each a RICO “person” within the meaning of 18

U.S.C. § 1961(3) because each is an entity or individual capable of holding a legal

or beneficial interest in property.

A.    The RICO Enterprises

          1. RICO Enterprise of all Defendants

      134. With respect to the predicate acts of extortionate extension of credit and

financing extortionate credit transactions, all Defendants have acted in concert and

associated together as a distinct association-in-fact. Defendants therefore form an

enterprise within the meaning of 18 U.S.C. § 1961(4). Defendants do not operate as

completely separate entities in financing and extending credit to bail consumers

under threat of violence. Rather, they have an ongoing relationship and share the

common purposes of contracting with bail bonds clients, collecting bond deposits,

and hunting, seizing, and unlawfully restraining bail bonds clients who either fail to

appear or whom Defendants deem a risk of forfeiture or financial loss.

      135. Defendants function as a continuing unit and have so functioned for a

sufficient period of time to permit them to pursue the goals of the enterprise. First

Call, Ratzburg, Allegheny, and International Fidelity have functioned as a

continuing unit since approximately June 2014. In turn, First Call and Ratzburg—as

agents of Allegheny and International Fidelity—have employed MCAG since


                                         39
         Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 40 of 70



approximately September 2015 to engage in bounty hunting in order to secure

payments, prevent losses, and mitigate risk.

       136. Ratzburg and First Call meet with potential bail clients to extend bail

bonds and credit for bail bonding fees on behalf of International Fidelity and

Allegheny. Using a contract of adhesion containing three pages of fine print,

Ratzburg, First Call, International Fidelity, and Allegheny require principals and

indemnitors to agree to extortionate and illegal terms. Through this agreement, these

Defendants require principals to consent to possible seizure, apprehension, and

rearrest, including with force, in order to post their bond. See Mitchell Bond

Agreement at 2.67 Ratzburg and First Call then frequently contract with bounty

hunters, including MCAG, that search for, seize, and detain principals to coerce

payment of bail bonding fees or to prevent the forfeiture of a bail bond deposit.

Ratzburg and First Call pay MCAG 10% of the total value of the bail bond.

       137.     Ratzburg, First Call, MCAG, and its members regularly communicate

about the status of individual clients.




67
  Mr. Mitchell’s bond agreement also contemplates (1) that the principal may be considered in
breach of his or her obligation to the surety such that the surety may immediately apprehend,
arrest, and surrender the principal where, inter alia, “there is a material increase in the risk
assumed by the Surety (as determined by the Surety in its sole and absolute discretion) . . .”; and
(2) that “the Surety may attach a location tracking devise on any vehicle owned or driven by [the
principal], at any time, without notice, and monitor the location of the vehicle through any
available technology.” Bond Agreement at 2, 4.
                                                 40
       Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 41 of 70



      138. Through these actions, Defendants facilitate and participate in a pattern

of racketeering through predicate acts of extortionate extension of credit and

financing extortionate credit transactions. Defendants know and intend that these

acts of racketeering will be committed through their participation in the enterprise,

and these Defendants have engaged in racketeering activities continuously over a

period of nearly two years.

      139. Allegheny, International Fidelity, and AIA provide the policy Ratzburg

and First Call use to secure bail bonds with the court. Allegheny, International

Fidelity, and AIA’s involvement in bail enforcement and collections is memorialized

in the bond agreements with each principal as well as a Managing General Agent

agreement.

      140. Under the Managing General Agent agreement, AIA Holdings appoints

producers, underwrites and issues bonds, bills premiums, collect premiums from

agents, and performs claims handling services.

      141. Allegheny, International Fidelity, and AIA require individual bond

agents, including Ratzburg and First Call, to absorb the losses resulting from any

bail forfeitures and, in so doing, incentivize aggressive bounty hunting practices,

including by MCAG.

      142. As outlined above in paragraphs 83–85, these practices are not limited

to Mr. Mitchell’s experience. Ratzburg and First Call, as agents of Allegheny and
                                         41
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 42 of 70



International Fidelity, frequently engaged MCAG, Baker, and Haack to undertake

bounty hunting activities. Defendants’ racketeering practices extend over multiple

years and are a regular way of conducting the ongoing business of MCAG, First

Call, Ratzburg, Allegheny, and International Fidelity as well as conducting or

participating in the ongoing enterprise.

             2. RICO Enterprise of Montana-Based Defendants

      143. With respect to the predicate acts of kidnapping, extortion, extortionate

collection of extension of credit, extortionate extension of credit, and financing

extortionate credit transactions, MCAG, Baker, Haack, First Call, and Ratzburg have

acted in concert and associated together as a distinct association-in-fact and therefore

form an enterprise within the meaning of 18 U.S.C. § 1961(4). MCAG, Baker,

Haack, First Call, and Ratzburg coordinate their operation of the bond collection and

“fugitive recovery” process. This enterprise has an ongoing relationship and shares

the common purposes of apprehending bail bonds clients, recovering bond deposits

made with a court within the greater Missoula area, and engaging in kidnapping,

extortion, the extortionate collection of credit, the extortionate extension of credit,

and the financing of extortionate credit transactions to achieve these ends.

      144. MCAG, Baker, Haack, Ratzburg, and First Call are a RICO enterprise

and function as a continuing unit. MCAG, Baker, Haack, First Call, and Ratzburg


                                           42
           Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 43 of 70



have functioned as a continuing unit since approximately September 2015, a

sufficient period of time to permit them to pursue the goals of the enterprise.

          145. Through a contract of adhesion that contains three pages of fine print,

Ratzburg and First Call require principals and indemnitors to agree to extortionate

and illegal terms. Ratzburg and First Call also require principals to consent to

possible seizure, apprehension, and rearrest, including with force, in order to obtain

a posted bond. See Mitchell Bond Agreement at 2. A motion to dismiss filed by

Defendant Baker in his criminal case asserted that “[t]he standard language of all

contracts between First Call Bail & Surety and its clients” authorizes apprehension

and surrender on the part of the bondsman.68 Ratzburg and First Call routinely

accomplish this by contracting with MCAG, Baker, and Haack, to search for, seize,

and detain principals to coerce payment of bail bonding fees or to prevent the

forfeiture of a bail bond deposit. Ratzburg and First Call pay MCAG, Baker, and

Haack 10% of the total value of the bail bond.

          146. Ratzburg, First Call, MCAG, Baker, Haack and MCAG members

regularly communicate about the status of individual clients.

          147. MCAG members work in close concert with one another to perform

their bounty hunting activities and keep detailed notes in “field reports.”



68
     Baker Motion to Dismiss, supra note 8, at 2 (emphasis added).
                                                  43
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 44 of 70



      148. As outlined above in paragraphs 83–85 and 142, these racketeering

practices are not limited to Mr. Mitchell’s experience. They extend over multiple

years and are a regular way of conducting the ongoing business of MCAG, Baker,

Haack, First Call, and Ratzburg as well as conducting or participating in the ongoing

enterprise.

      149. MCAG, Baker, Haack, Ratzburg, and First Call facilitate, and

participate in a pattern of racketeering through predicate acts of kidnapping,

extortion, extortionate collection of extension of credit, extortionate extension of

credit, and financing extortionate credit transactions. MCAG, Baker, Haack,

Ratzburg, and First Call know and intend that these acts of racketeering will be

committed through their participation in the enterprise, and MCAG, Baker, Haack,

Ratzburg, and First Call have engaged in racketeering activities continuously over a

period of nearly two years.

              3. MCAG RICO Enterprise

      150. Additionally and in the alternative, MCAG is a distinct association-in-

fact and therefore forms an enterprise within the meaning of 18 U.S.C. § 1961(4).

The members and leadership of MCAG operate as a single entity in managing the

bond collection and “fugitive recovery” process. According to its website, MCAG

has a highly organized structure including chains of command and individual ranks,

modeled       on   a   military   structure.   See    https://sites.google.com/a/mt-
                                         44
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 45 of 70



cag.org/mtcag/website-builder. This enterprise has an ongoing relationship and

shares the common purposes of apprehending bail bonds clients, recovering bond

deposits made with a court within the greater Missoula area, and engaging in

kidnapping, extortion, and the extortionate collection of credit to achieve these ends.

      151. MCAG was founded on August 31, 2015. MCAG previously operated

under the name Montana Minutemen.

      152. MCAG and its members search for, seize, and detain bail contract

principals to coerce payment of bail bonding fees or to prevent the forfeiture of a

bail bond deposit. Bail bond agents then pay MCAG 10% of the total value of the

bail bond.

      153. MCAG and its members have engaged in bounty hunting dozens, if not

hundreds, of times over the course of a two-year period.

      154. MCAG members regularly communicate about the status of individual

clients, including through official email addresses.

      155. MCAG members work in close concert with one another to perform

their bounty hunting activities and keep detailed notes in “field reports.”

      156. MCAG and its members facilitate and participate in a pattern of

racketeering through predicate acts of kidnapping, extortion, and extortionate

collection of extension of credit. The members of the MCAG enterprise know and

intend that these acts of racketeering will be committed through their participation
                                          45
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 46 of 70



in the enterprise, and MCAG has engaged in racketeering activities continuously

over a period of nearly two years.

      157. Each of the above-described RICO enterprises is engaged in interstate

commerce in that its activities and transactions relating to the extension of credit,

apprehension of bail bonds clients, and collection of bail bond deposits frequently

require movement and communications across state lines and use of interstate

facilities, including communication via email and phone. Further, Allegheny and

International Fidelity have a nationwide presence. And MCAG has a presence (and

has recruited “Fugitive Recovery Agents”) in five different states.

                           VI.    CLAIMS FOR RELIEF
                      FIRST CLAIM FOR RELIEF
    RICO Claim based on Extortionate Extension of Credit and Financing
                     Extortionate Credit Transactions
                            18 U.S.C. § 1962(c)
          Plaintiffs Mitchell and Meuchell versus All Defendants
      158. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

      159. All Defendants have conducted or participated in and conspired to

conduct the affairs of a RICO enterprise by engaging in the following predicate acts

of racketeering activity under 18 U.S.C. § 1961(1), in violation of 18 U.S.C.

§ 1962(c):



                                           46
       Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 47 of 70



              a. Making extortionate extensions of credit, as defined in 18 U.S.C.

                 § 892; and

              b. Financing extortionate credit transactions, as defined in 18 U.S.C.

                 § 893.

         1. Making Extortionate Extensions of Credit

      160. Though their enterprise, Defendants made extortionate extensions of

credit by entering into bail bonds agreements with accused people, like Mr. Mitchell,

and engaging in bounty hunting as a means of enforcing those bail bonds

agreements.

      161. Through bail bonds agreements, Ratzburg, First Call, Allegheny, and

International Fidelity (Bond Company Defendants) extended credit to their clients,

including Mr. Mitchell, in two ways: first, by accepting deferred payment on all or

part of a bail bond premium or deposit, such that a bail bonds client owed an

additional payment on the premium under threat of possible violence; and second,

by agreeing to pay the entire outstanding amount of a bail bond in order to secure

release, while retaining the ability to recover such payment from their clients.

      162. The Bond Company Defendants explicitly indicate that they use bounty

hunting to recover payments from their clients, like Mr. Mitchell, and MCAG,

Baker, and Haack have continuously engaged in such bounty hunting on behalf of

the Bond Company Defendants. It was thus understood by persons contracting with
                                         47
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 48 of 70



the Bond Company Defendants than any delay or failure to make outstanding any

payment could result in acts of violence including but not limited to forceful entry

of a home, apprehension with firearms, and kidnapping. It was also understood by

persons contracting with the Bond Company Defendants that any effort by the Bond

Company Defendants to recover the full amount of the bail bond could result in

similar acts of violence.

      163. Defendants have continuously used their enterprise to make similarly

extortionate extensions of credit to other persons.

      164. The proceeds of the Bond Company Defendants’ extortionate activities

were used in interstate commerce. Mr. Mitchell and Ms. Meuchell were precluded

from using money paid to the Bond Company Defendants to purchase other goods

in interstate commerce. The Defendants’ actions therefore affected commerce or the

movement of any article or commodity in commerce, as these terms are understood

by 18 U.S.C. § 1951(a).

          2. Financing Extortionate Credit Transactions

      165. Though their enterprise, Defendants financed extortionate credit

transactions by entering into bail bonds agreements with Mr. Mitchell and other

similarly situated people and engaging in bounty hunting as a means of enforcing

those bail bonds agreements.


                                          48
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 49 of 70



      166. Through producer agreements, the Bond Company Defendants

willfully advanced money or property to underwrite and act as surety on secured bail

bonds for persons, including Mr. Mitchell. Because the Bond Company Defendants

explicitly contemplated the use of bounty hunting—including through MCAG,

Baker, and Haack—in order to collect any unpaid premiums, demand payment due

to forfeiture, or to enforce other provisions of the bond agreement, this extension of

credit created both an explicit and implied threat of violence as discussed above in

paragraph 162.

      167. The Bond Company Defendants had both actual knowledge of and

reasonable grounds to believe that the money or property advanced to back bail

bonds agreements was being used directly or indirectly for the purpose of making

extortionate extensions of credit.

      168. Defendants continuously used their enterprise to finance extortionate

credit transactions to other persons.

      169. As a direct and proximate result of Defendants’ willful, knowing, and

intention acts discussed in this Claim, Mr. Mitchell and Ms. Meuchell have suffered

injuries to their property or business—including money obtained unlawfully by

Defendants, physical damage to property, and increased utilities expenses because

of that property damage—through kidnapping, assault, and extortion.


                                         49
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 50 of 70



                        SECOND CLAIM FOR RELIEF
   RICO Claim based on Kidnapping, Extortion, Extortionate Extension of
    Credit, Extortionate Collection of Extension of Credit, and Financing
                        Extortionate Credit Transactions
                               18 U.S.C. § 1962(c)
Plaintiffs Mitchell and Meuchell versus Defendants MCAG, Baker, Haack, First
                               Call, and Ratzburg
      170. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

      171. Defendants MCAG, Baker, Haack, First Call, and Ratzburg have

conducted or participated in and conspired to conduct the affairs of a RICO

enterprise by engaging in the following predicate acts of racketeering activity under

18 U.S.C. § 1961(1), in violation of 18 U.S.C. § 1962(c):

             a. Simple kidnapping in violation of Mont. Code Ann. § 45-5-302;

             b. Extortion in violation of the Hobbs Act, 18 U.S.C. § 1951;

             c. Making extortionate extensions of credit, as defined in 18 U.S.C.

                 § 892;

             d. Collection of extension of credit through extortionate means, as

                 defined in 18 U.S.C. § 894; and

             e. Financing extortionate credit transactions, as defined in 18 U.S.C.

                 § 893.




                                           50
       Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 51 of 70



          1. Simple Kidnapping

      172. Though their enterprise, MCAG, Baker, Haack, First Call, and

Ratzburg committed the crime of kidnapping by intentionally and forcibly seizing

Mr. Mitchell without his consent, carrying him from his home to the Ravalli County

Detention Center, and keeping him there against his will. MCAG, Baker, Haack,

First Call, and Ratzburg have continuously used their enterprise to similarly kidnap

other persons.

      173. MCAG, Baker, Haack, First Call, and Ratzburg did this with the intent

to obtain money from Mr. Mitchell’s surrender under his bond agreement with the

Bond Company Defendants (Ratzburg, First Call, Allegheny, and International

Fidelity). Though untrue, the Bounty Hunters believed that Mr. Mitchell owed the

Bond Company Defendants an outstanding $115 payment on his contract premium.

         2. Extortion

      174. MCAG, Baker, Haack, First Call, and Ratzburg, through their

enterprise, obtained payment of bail bonding fees from Mr. Mitchell and Ms.

Meuchell by threatening to seize and detain Mr. Mitchell if they failed to make the

demanded payment, and by violently seizing and surrendering Mr. Mitchell to the

Ravalli County Detention Center.

      175. MCAG, Baker, Haack, First Call, and Ratzburg obtained payments

from Mr. Mitchell and Ms. Meuchell, and other persons, through the wrongful use
                                        51
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 52 of 70



of actual and threatened force and fear, in violation of 18 U.S.C. § 1951 (Hobbs Act).

MCAG, Baker, Haack, First Call, and Ratzburg have continuously used their

enterprise to extort other persons.

      176. The proceeds of the extortionate activities of MCAG, Baker, Haack,

First Call, and Ratzburg were used in interstate commerce. Mr. Mitchell and Ms.

Meuchell were precluded from using money paid to these Defendants to purchase

other goods in interstate commerce. The conduct of MCAG, Baker, Haack, First

Call, and Ratzburg therefore affected commerce or the movement of any article or

commodity in commerce, as these terms are understood by 18 U.S.C. § 1951(a).

          3. Extortionate Extension of Credit

      177. Though their enterprise, MCAG, Baker, Haack, First Call, and

Ratzburg made extortionate extensions of credit by entering into bail bonds

agreements with Mr. Mitchell and other similarly situated people, and engaging in

bounty hunting as a means of enforcing those bail bonds agreements.

      178. Through bail bonds agreements, Ratzburg and First Call extended

credit to their clients, including Mr. Mitchell, in two ways: first, by accepting

deferred payment on all or part of a bail bond premium or deposit, such that a bail

bonds client owed additional payment on the premium under threat of possible

violence; and second, by agreeing to pay the entire outstanding amount of a bail


                                         52
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 53 of 70



bond in order to secure release, though withholding the ability to recover such

payment from their clients in the event of forfeiture.

      179. Ratzburg and First Call acknowledge that they used bounty hunting to

recover payments from Mr. Mitchell and others. MCAG, Baker, and Haack

continuously engaged in such bounty hunting on behalf of Ratzburg and First Call.

It was thus understood by persons contracting with Ratzburg and First Call than any

delay or failure to make outstanding payment could result in acts of violence

including but not limited to forceful entry of a home, apprehension through firearms,

or kidnapping. It was also understood by persons contracting with Ratzburg and First

Call that any effort by Ratzburg and First Call to recover the full amount of the bail

bond could result in similar acts of violence.

      180. MCAG, Baker, Haack, First Call, and Ratzburg continuously used their

enterprise to make similarly extortionate extensions of credit to other persons.

         4. Extortionate Collection of Extension of Credit

      181. MCAG, Baker, Haack, First Call, and Ratzburg, through their

enterprise, engaged in the extortionate collection of extension of credit by using

actual and threatened wrongful arrest, detention, and kidnapping to ensure payment

on bail bond deposits and as collateral for the full bail bond amounts paid or

underwritten.


                                          53
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 54 of 70



          5. Financing Extortionate Credit Transactions

      182. Though their enterprise, MCAG, Baker, Haack, First Call, and

Ratzburg financed extortionate credit transactions by entering into bail bonds

agreements with Mr. Mitchell and other similarly situated people, and engaging in

bounty hunting as a means of enforcing those bail bonds agreements.

      183. Through bail bond agreements, First Call and Ratzburg willfully

advanced money or property to post secured bail bonds and act as surety for persons

including Mr. Mitchell. Because Ratzburg and First Call explicitly contemplated the

use of bounty hunting in order to collect any unpaid premiums, demand payment

due to forfeiture, or to enforce other provisions of the bond agreement, this extension

of credit created both an explicit and implied threat of violence as discussed above

in paragraph 162.

      184. Thus, Ratzburg and First Call had both actual knowledge of and

reasonable grounds to believe that the money or property advanced to back bail

bonds agreements was being used directly or indirectly for the purpose of making

extortionate extensions of credit.

      185. MCAG, Baker, Haack, First Call, and Ratzburg continuously used their

enterprise to finance extortionate credit transactions to other persons.

      186. As a direct and proximate result of the willful, knowing, and intentional

acts of MCAG, Baker, Haack, First Call, and Ratzburg discussed in this claim for
                                          54
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 55 of 70



relief, Mr. Mitchell and Ms. Meuchell have suffered injuries to their property or

business—including money obtained unlawfully by MCAG, Baker, Haack, First

Call, and Ratzburg, physical damage to property, and increased utilities expenses

because of that property damages—through kidnapping, assault, and extortion.


                        THIRD CLAIM FOR RELIEF
RICO Claim based on Kidnapping, Extortion, and Extortionate Collection of
                            Extension of Credit,
                             18 U.S.C. § 1962(c)
Plaintiffs Mitchell and Meuchell versus Defendants MCAG, Baker, and Haack
      187. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

      188. Defendants MCAG, Baker, and Haack (“MCAG Enterprise

Defendants”) have conducted or participated in and conspired to conduct the affairs

of a RICO enterprise by engaging in the following predicate acts of racketeering

activity under 18 U.S.C. § 1961(1), in violation of 18 U.S.C. § 1962(c):

             a. Simple kidnapping in violation of Mont. Code Ann. § 45-5-302;

             b. Extortion in violation of the Hobbs Act, 18 U.S.C. § 1951;

             c. Collection of extension of credit through extortionate means, as

                 defined in 18 U.S.C. § 894.




                                           55
       Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 56 of 70



      1. Kidnapping

      189. Though their enterprise, the MCAG Enterprise Defendants committed

the crime of kidnapping by intentionally and forcibly seizing Mr. Mitchell without

his consent, carrying him from his home to the Ravalli County Detention Center,

and keeping him there against his will. The MCAG Enterprise Defendants have

continuously used their enterprise to similarly kidnap other persons.

      2. Extortion

      190. The MCAG Enterprise Defendants, through their enterprise, obtained

payment of bail bonding fees from Mr. Mitchell and Ms. Meuchell by seizing and

surrendering Mr. Mitchell to the Ravalli County Detention Center. And because of

the continuous bounty hunting activities of the MCAG Enterprise Defendants, Mr.

Mitchell and Ms. Meuchell reasonably believed that they faced violence,

kidnapping, or unlawful restraint when Ratzburg threatened Mr. Mitchell in order to

demand the full payment of his bail bond deposit.

      191. Though untrue, the MCAG Enterprise Defendants believed that Mr.

Mitchell owed the Bond Company Defendants an outstanding $115 payment on his

contract premium.

      192. The MCAG Enterprise Defendants aided in the collection of bond

payments through the wrongful use of actual and threatened force and fear, in


                                         56
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 57 of 70



violation of 18 U.S.C. § 1951 (Hobbs Act). The MCAG Enterprise Defendants have

continuously used their enterprise to extort other persons.

      193. The proceeds of MCAG Enterprise Defendants’ extortionate activities

were used in interstate commerce.

      3. Collection of Credit Through Extortionate Means

      194. The MCAG Enterprise Defendants, through their enterprise, engaged

in the extortionate collection of debts by using actual and threatened wrongful arrest,

detention, and kidnapping in order to both ensure full payment of bail premiums and

to prevent forfeitures of bonds posted by bail bondsmen and insurance companies.


                        FOURTH CLAIM FOR RELIEF
               Violation of the Montana Consumer Protection Act
                          Mont. Code Ann. § 30-14-103
    Plaintiffs Mitchell and Meuchell versus Defendants First Call, Ratzburg,
                       Allegheny, and International Fidelity
      195. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

      196. Mr. Mitchell and Ms. Meuchell are “consumers” within the meaning of

Mont. Code Ann. § 30-14-102(1), because in entering Mitchell’s bond agreement

they are each “a person who purchases or leases goods, services, real property, or

information primarily for personal, family, or household purposes.”




                                           57
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 58 of 70



      197. First Call, Ratzburg, Allegheny, and International Fidelity are engaged

in “trade” and “commerce” within the meaning of Mont. Code Ann. § 30–14–

102(8), as in contracting with individuals for for-profit bail bond services they are

engaged in “the advertising, offering for sale, sale, or distribution of any services,

any property, tangible or intangible, real, personal, or mixed, or any other article,

commodity, or thing of value, wherever located . . . directly or indirectly affecting

the people of this state.”

      198. First Call, Ratzburg, Allegheny, and International Fidelity’s actions in

imposing unconscionable contract terms on Mr. Mitchell while he was incarcerated

and unable to review the terms, in subjecting Mr. Mitchell and his family to violent

intrusion and assaultive arrest, and in reserving for themselves unilateral power to

increase Mr. Mitchell’s bond, subject him to location monitoring, or unlawfully

restrain him, amount to unfair methods of competition or unfair or deceptive acts or

practices in the conduct of trade or commerce within the meaning of Mont. Code

Ann. § 30-14-103.

      199. First Call and Ratzburg’s use of threats of violence or unlawful restraint

to obtain payment of bond premiums is an unfair or deceptive act or practice.

Allegheny and International Fidelity are responsible for the actions of their

authorized agents First Call and Ratzburg.


                                         58
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 59 of 70



      200. As a result of First Call, Ratzburg, Allegheny, and International

Fidelity’s unfair or deceptive practices, Plaintiffs suffered a “loss of money or

property, real or personal” within the meaning of Mont. Code Ann. § 30-14-133.

                           FIFTH CLAIM FOR RELIEF
                                       Trespass
                           Plaintiffs versus all Defendants
      201. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

      202. Each Defendant or its agent participated in or authorized an intentional

entry into Plaintiffs’ home without consent or legal right. Mr. Mitchell, Ms.

Meuchell, and B.M. did not validly consent to the forcible entry into their home

through any discussions with MCAG and its members or by signing the agreement

for Mr. Mitchell’s release on bond.

      203. Defendants caused substantial injury to Plaintiffs’ property by breaking

their door, among other things.

                           SIXTH CLAIM FOR RELIEF
                                False Imprisonment
                           Plaintiffs versus all Defendants
      204. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.




                                           59
          Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 60 of 70



      205. In committing or authorizing the forcible entry of Plaintiffs’ home and

instructing Mr. Mitchell, Ms. Meuchell, and B.M. not to move while pointing guns

at them, Defendants restrained all Plaintiffs unlawfully and against their will.

      206. In committing or authorizing the forcible entry of Plaintiffs’ home and

the violent seizure and apprehension of Mr. Mitchell, Defendants restrained Mr.

Mitchell unlawfully and against his will. Defendants committed or authorized the

apprehension of Mr. Mitchell and his involuntary relocation to the Ravalli County

Detention Center, where he waited for an hour or more in the custody of MCAG and

others.

      207. Mr. Mitchell was threatened by the MCAG members’ forcible entry

and display of weapons, such that he reasonably believed he could not disregard their

orders and was thus deprived of his liberty.

                        SEVENTH CLAIM FOR RELIEF
                                       Assault
                          Plaintiffs versus all Defendants
      208. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

      209. In committing or authorizing the forcible entry of Plaintiffs’ home and

the violent seizure and apprehension of Mr. Mitchell, Defendants intentionally

threatened to make harmful or offensive contact with Plaintiffs. Armed with visible

weapons, MCAG and its members, as agents for remaining Defendants, had an
                                           60
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 61 of 70



apparent ability to carry out the threat of harmful or offensive contact. This created

a well-founded fear on the part of Plaintiffs.

                            EIGHTH CLAIM FOR RELIEF
                       Intentional Infliction of Emotional Distress
                             Plaintiffs versus all Defendants
      210. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

      211. MCAG members acted intentionally when they forcibly broke into

Plaintiffs’ home with weapons visible or drawn, and each Plaintiff’s serious or

severe emotional distress was a reasonably foreseeable consequence. MCAG

members acted as the authorized agents of each additional Defendant when they

broke into Plaintiffs’ home.

      212. Each Plaintiff has suffered serious or severe emotional distress as a

result of Defendants’ intentional conduct.

                          NINTH CLAIM FOR RELIEF
                     Negligent Infliction of Emotional Distress
                          Plaintiffs versus all Defendants
      213. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

      214. MCAG members acted negligently or recklessly when they forcibly

broke into Plaintiffs’ home with weapons visible or drawn, and each Plaintiff’s

serious or severe emotional distress was a reasonably foreseeable consequence.
                                           61
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 62 of 70



MCAG members acted as the authorized agent of each additional Defendant when

they broke into Plaintiffs’ home.

       215. Plaintiffs have suffered serious or severe emotional distress as a result

of Defendants’ negligent or reckless conduct.


                            TENTH CLAIM FOR RELIEF
                                     Strict Liability
                            Plaintiffs versus All Defendants
       216. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

       217. Bounty hunting is an abnormally dangerous activity.

       218. The degree and likelihood of harm likely presented by bounty hunting

is great, as injury, property damage, or even death are potential outcomes of bounty

hunting.

       219. Moreover, bounty hunting is not a common profession or activity.

       220. Given the availability of alternative means to promote the

government’s interests in court appearance at bail setting,69 the dangers of bounty

hunting weigh strongly against the public interest.


69
   See, e.g., Brice Cooke et al., Using Behavioral Science to Improve Criminal Justice Outcomes
Preventing Failures to Appear in Court, Ideas41 and The University of Chicago Crime Lab, 4
(2018) (Finding that redesigning summons forms to plain, understandable language reduced FTA
rate by 13% and text message reminders of court dates reduced FTA rates by as much as 26%);
Pretrial Justice Center for Courts, Use of Court Date Reminder Notices to Improve Court

                                              62
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 63 of 70



       221. All Defendants are therefore liable for the abnormally dangerous

activity of MCAG, Baker, and Haack, who acted within the scope of their authority

as agents of Ratzburg and First Call, and subagents of Allegheny and International

Fidelity. See Matkovic v. Shell Oil, 707 P.2d 2, 3–4 (Mt. 1985); Second Restatement

of Torts § 519.

                         ELEVENTH CLAIM FOR RELIEF
                                      Negligence
                           Plaintiffs versus All Defendants
       222. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

       223. Bounty hunting is an inherently dangerous activity.

       224. Bounty hunting, if done unskillfully or carelessly, involves a grave risk

of serious bodily harm or death. Nelson v. United States, 2006 WL 8435786, at *5

(D. Mont. March 8, 2006) (citing Restatement (First) of Torts § 427A (1934)).




Appearance Rates, Pretrial Justice Brief 10, 3 (September 2017) (Coconino County, AZ used
court date reminder calls and the FTA reduced from 25.4% to 5.9% for those who received
them); Schultz, 330 F. Supp. 3d 1344, at 1363 (“The failure to appear rate of low-income
defendants in Luzerne County, Pennsylvania decreased from 15% to under 6% after
implementing text-message court date reminders.”); Jones, supra note 62, at 11 (“Whether
released defendants are higher or lower risk or in-between, unsecured bonds offer decision-
makers the same likelihood of court appearance as do secured bonds”); United States Courts,
Supervision Costs Significantly Less than Incarceration in Federal System, www.uscourts.gov,
available at http://www.uscourts.gov/news/2013/07/18/supervision-costs-significantly-less-
incarceration-federal-system (last visited July 18, 2013) (discussing lower cost of pretrial
supervision as compared to pretrial incarceration).
                                                 63
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 64 of 70



Bounty hunters typically carry weapons, frequently show up unannounced, and often

forcibly enter homes or other buildings.

      225. Any party engaged in bounty hunting or hiring bounty hunters has a

duty to ensure that it is done responsibly, skillfully, and with care. When they

engaged in and directed the attack on Mr. Mitchell and Ms. Meuchell’s home in a

needlessly violent, reckless, and careless manner, MCAG, Baker, and Haack

breached that duty.

      226. All Defendants are vicariously liable for the inherently dangerous

activity of MCAG, Baker, and Haack, who acted within the scope of their authority

as agents of Ratzburg and First Call, and subagents of Allegheny and International

Fidelity.

                       TWELFTH CLAIM FOR RELIEF
                            Declaratory Judgment Act
                              28 U.S.C. § 2201 et seq.
    Plaintiff Mitchell versus Defendants First Call, Ratzburg, Allegheny, and
                               International Fidelity
      227. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

      228. Declaratory relief is intended to minimize “the danger of avoidable loss

and unnecessary accrual of damages.” 10B Charles Alan Wright, Arthur R. Miller

& Mary Kay Kane, Federal Practice and Procedure § 2751 (4th ed. Nov. 2018

Update).
                                           64
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 65 of 70



      229. There is an actual controversy between Plaintiff Mitchell, on the one

hand, and Defendants First Call, Ratzburg, Allegheny, and International Fidelity, on

the other, concerning the Bail Bond Agreement.

      230. Paragraph 5 of the Bail Bond Agreement provides in part as follows:

Mitchell “agrees to defend, indemnify, and hold harmless the Surety and/or Bail

Producer (including all agents, representatives and employees thereof) for any

injuries, harm, losses, claims, lawsuits, damages, losses, liability, demands, actions,

fees and expenses (including attorneys fees and costs) arising out of such activities.”

      231. Under 28 U.S.C. § 2201, the Court may “declare the rights and legal

relations of any interested party seeking such declaration, whether or not further

relief is or could be sought.”

      232. Mr. Mitchell seeks a declaration that the indemnification and hold-

harmless provisions in the Bail Bond Agreement are unenforceable because, among

other things, the provisions are unconscionable and contrary to public policy.

                    THIRTEENTH CLAIM FOR RELIEF
                           Declaratory Judgment Act
                             28 U.S.C. § 2201 et seq.
    Plaintiffs Mitchell and Meuchell versus Defendants First Call, Ratzburg,
                      Allegheny, and International Fidelity
      233. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.


                                           65
       Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 66 of 70



      234. Declaratory relief is intended to minimize “the danger of avoidable loss

and unnecessary accrual of damages.” 10B Charles Alan Wright, Arthur R. Miller

& Mary Kay Kane, Federal Practice and Procedure § 2751 (4th ed. Nov. 2018

Update).

      235. There is an actual controversy between Plaintiffs Mitchell and

Meuchell, on the one hand, and Defendants First Call, Ratzburg, Allegheny, and

International Fidelity, on the other, concerning the Bail Bond Agreement.

      236. Provisions in paragraph 5 of the Bail Bond Agreement, provide as

follows: Mitchell “understands, acknowledges, assumes and accepts that [his] failure

to appear and resulting apprehension to custody is an activity that poses a peculiar

risk of harm both to the Defendant and to others”; Mitchell “acknowledges and

agrees that if [he] becomes subject to such apprehension and surrender, [he] is

voluntarily participating in the activity of apprehension and recovery such that the

risk of harm of such activity is not peculiar to [him]”; Mitchell “acknowledges and

understands the peculiar risk of such activity and [he] is no longer a member of the

general public who cannot anticipate such risk”; and Mitchell “knowingly accepts

and assumes the subsequent risk of harm to [him] and others arising out of such

apprehension and surrender activities.”

      237. Provisions found in paragraph 15 of the Bail Bond Agreement provide

as follows: Mitchell and Meuchell “irrevocably grant to Surety and Bail Producer,
                                          66
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 67 of 70



and their agents and representatives, the right to enter your residence, or any other

property that you own or occupy, without notice, at any time, for the purpose of

locating, arresting, and returning [Mitchell] to custody, and subject to applicable

law, you waive and release any and all causes of action in connection therewith

including, without limitation, torts of trespass and false imprisonment.”

      238. Under 28 U.S.C. § 2201, the Court may “declare the rights and legal

relations of any interested party seeking such declaration, whether or not further

relief is or could be sought.”

      239. Mr. Mitchell and Ms. Meuchell seek a declaration that the consent

provisions in the Bail Bond Agreement are unenforceable because, among other

things, the provisions are unconscionable and contrary to public policy.

                      FOURTEENTH CLAIM FOR RELIEF
                               Punitive Damages
                         Plaintiffs versus all Defendants
      240. Plaintiffs re-allege and incorporate by reference each and every

allegation above as if fully set forth herein.

      241. Defendants acted with knowledge of facts or intentionally disregarded

facts that created a high probability of injury to Plaintiffs and, nevertheless,

deliberately proceeded to act in conscious or intentional disregard of the high

probability of injury to Plaintiffs, or deliberately proceeded to act with indifference

to the high probability of injury to the Plaintiffs.
                                           67
        Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 68 of 70



      242. MCAG, Baker, and Haack acted recklessly and with deliberate

indifference to the high probability that their actions would cause injury to Mr.

Mitchell, Ms. Meuchell, and B.M.

      243. On information and belief, Ratzburg and First Call had knowledge of,

or intentionally disregarded, facts that MCAG, Baker, and Haack conducted their

bounty hunting activities in a manner creating a high likelihood of probability of

injury to Plaintiffs. In dealings with MCAG, Baker, and Haack arising out of bail

bonds agreements, Ratzburg and First Call operated as agents of Allegheny and

International Fidelity.

      244. As a result of the actions of Defendants alleged in this complaint,

punitive damages should be assessed against Defendants as a means to deter it and

others, from engaging in the kind of activities alleged herein, in an amount to be

determined at trial.

                          VII. PRAYER FOR RELIEF
      WHEREFORE, Plaintiffs respectfully request that the Court provide the

following relief:

      a.     Assume jurisdiction over this action;




                                         68
       Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 69 of 70



      b.     Enter declaratory relief finding, inter alia, that the consent and hold

harmless provisions in Mr. Mitchell’s bail bond agreement are unconscionable and

void as a matter of public policy;

      c.     Award compensatory damages to all Plaintiffs;

      d.     Award punitive damages to all Plaintiffs;

      e.     Award damages to Plaintiffs under the Montana Consumer Protection

Act, Mont. Code Ann. § 40-14-133(1), in the amount of $500 or their actual losses

in money or property, whichever is greater, and treble damages in its discretion;

      f.     Award treble damages to Mr. Mitchell and Ms. Meuchell as authorized

by RICO, 18 U.S.C. § 1964(c);

      g.     Award restitution of all funds illegally taken from Mr. Mitchell and Ms.

Meuchell;

      h.     Award Plaintiffs costs and reasonable attorney fees; and

      i.     Order such other relief as the Court deems just and appropriate.

                      VIII. DEMAND FOR JURY TRIAL
      Plaintiffs demand a jury for all issues so triable.

Dated: April 17, 2019.                  Respectfully submitted,

                                               /s/ Alex Rate
                                               Alex Rate
                                               On behalf of Attorneys for Plaintiff

                                               /s/ Toby J. Marshall
                                          69
Case 9:19-cv-00067-DLC Document 1 Filed 04/17/19 Page 70 of 70



                                   Toby J. Marshall (lead counsel)**
                                   Beth Terrell**
                                   Blythe H. Chandler**
                                   Terrell Marshall Law Group, PLLC
                                   936 N. 34th Street
                                   Suite 300
                                   Seattle, WA 98103
                                   (206) 816-6603
                                   tmarshall@terrellmarshall.com
                                   bterrell@terrellmarshall.com
                                   bchandler@terrellmarshall.com

                                   /s/ Andrea Rose Woods
                                   Andrea Rose Woods (lead counsel)**
                                   American Civil Liberties Union Foundation
                                   Criminal Law Reform Project
                                   125 Broad Street, 18th Floor
                                   New York, NY 10004
                                   Telephone: (212) 549-2528
                                   awoods@aclu.org

                                    /s/ Alex Rate
                                    Alex Rate
                                    Elizabeth K. Ehret
                                    American Civil Liberties Union of
                                    Montana
                                    P.O. Box 9138
                                    Missoula, MT 59807
                                   (406) 224-1447
                                   ratea@aclumontana.org
                                   ehrete@aclumontana.org

                                   ** Admission pro hac vice pending
                                   Attorneys for Plaintiffs




                              70
